JS 44 (Rev. 10/20)                   Case 5:21-cv-01038 Document
                                                     CIVIL COVER 1-1 SHEET
                                                                      Filed 10/25/21 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         Joseph Weida                                                                                    Stan Koch & Sons Trucking, Inc.
   (b) County of Residence of First Listed Plaintiff             Bexar County                            County of Residence of First Listed Defendant              St. Louis County
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         Miguel Hernandez, Thomas J. Henry Law, PO Box                                                   Clint Cox & Laura Shelton, Cox, PLLC, 8144 Walnut Hill
         696025, San Antonio, TX 78269, 361-985-0600                                                     Lane, Suite 1090, Dallas, TX 75231 (214) 444-7050
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                 820 Copyrights                   430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                               830 Patent                       450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
       Student Loans                 340 Marine                           Injury Product                                                     New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                   Liability                                                      840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause:
                                       Motor vehicle accident involving tractor trailer
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
10/25/2021                                                           /s/ Clinton V. Cox
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
